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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA


  FEDERAL TRADE COMMISSION,

                   Plaintiff,
                                                        Case No.: 1:20-cv-03590-JEB
              v.

  META PLATFORMS, INC.,

                   Defendant.


 [PROPOSED] SECOND ORDER REGARDING CONFIDENTIALITY PROCEDURES
                            AT TRIAL

       Upon consideration of the parties’ Joint Status Report and the New York Times’s Motion

to Intervene and for Access to Judicial Records and Proceedings, ECF No. 461-1, it is hereby

ORDERED that:

   1. The parties shall post unsealed portions of trial exhibits used with and discussed by
      witnesses on a shared website (Box) pursuant to the following terms:

           a. Absent good cause, posting shall occur by 8:00 p.m. EDT two business days after
              an exhibit is used with and discussed by a witness at trial.

           b. The parties will bear responsibility for posting as follows:

                    i. For exhibits that were produced by Meta, Meta shall upload the exhibits to
                       the site;

                   ii. For exhibits that were produced by the FTC, the FTC shall upload the
                       exhibits to the site; and

                   iii. For exhibits that were produced by nonparties, the party who introduced
                        the document during a witness’s examination shall upload the exhibits to
                        the site.

           c. The party who uses the document during trial shall provide notice of its
              anticipated posting to any nonparty with a confidentiality interest no later than
              8:00 p.m. EDT the day it is used in court. A party or nonparty with a
              confidentiality interest in the exhibit may object to posting no later than 8:00 p.m.
              EDT one calendar day after the exhibit is used at trial. If an objection is raised,
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           the parties shall not post the exhibit until the objection is resolved. If the parties
           are unable to resolve the dispute, the objecting party or nonparty should raise it
           with the Court. Once the objection is resolved, the party with posting
           responsibilities shall post the exhibit on the Box website no later than 8:00 p.m
           EDT two calendar days after the objection is resolved.

2. The following procedure will govern courtroom closures:

       a. A party that believes a closed session will be required for either the direct or
          cross-examination of a witness shall make best efforts to so notify the Court by
          the end of the trial day immediately prior to the day of the witness’s expected
          testimony;

       b. The Court will docket the anticipated closed session the evening before the
          witness’s expected testimony; and

       c. The Court will consider arguments and objections with respect to the proposed
          closed session, including from a media representative, at the start of the morning
          session on the day of the witness’s expected testimony. Any time taken to resolve
          any such arguments shall not count against either party’s chess clock.

       d. The party or nonparty whose information necessitated a closed session shall
          propose redactions to any transcript of a closed session within 72 hours, starting
          from the time the final version of the transcript is circulated by the court reporter.

3. The parties shall use two levels of at-trial confidential treatment: Complete
   Nondisclosure and Partial Nondisclosure. “Complete Nondisclosure” means that the
   entire document will remain sealed from the public record and the courtroom would be
   closed when the substance of the document is discussed. “Partial Nondisclosure” means
   that the witness, attorneys for the parties, and Court may see an unredacted version of the
   document, but a redacted version will be shown on public-facing screens, and the
   questioner and witness may not to reveal the confidential portions of the document during
   questioning and testimony.

4. Documents, including those on the parties’ preadmission lists, shall not become part of
   the trial record before they are used with a witness during trial.

       a. The FTC reserves its rights to seek to make additional documents part of the trial
          record through other means after trial, and Meta reserves the right to oppose.

       b. To the extent that additional documents become part of the trial record through
          other means after trial, the parties shall submit a joint submission after trial setting
          forth the parties’ positions on whether such documents may be publicly disclosed,
          and appropriate procedures (if any) for such disclosure. This proposal shall be
          submitted ten business days after the last day of evidence presented to the Court.
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        c. The Box website’s contents shall remain available to the public until fourteen
           days after the Court’s order on this contemplated joint submission absent a Court
           Order extending the time.


IT IS SO ORDERED.



DATED: ___________________
                                              Honorable James E. Boasberg
                                              United States District Court Chief Judge
